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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                               :
                                     : Case No.: 22-10565
Milton Gibbs                         : Chapter 13
                                     : Judge Magdeline D. Coleman
                        Debtor(s)    : ******************
                                     :
JPMorgan Chase Bank, N.A.            : Date and Time of Hearing
                        Movant,      : September 6, 2022 at 10:30 a.m.
       vs                            :
                                     : Place of Hearing
Milton Gibbs                         : U.S. Bankruptcy Court
                                     : 900 Market Street, Suite 400, Courtroom #2
                                     : Philadelphia, PA, 19107
Kenneth E. West
                                     :
                        Respondents.
                                       Related Document # 34

                                      ORDER OF COURT

       AND NOW, to wit, this 6th day of                    September    2022, upon
consideration of the foregoing Stipulation for Settlement of Movant's Motion for Relief from the
Automatic Stay, it is hereby ORDERED, ADJUDGED AND DECREED that:

1.     The terms of the foregoing Stipulation are hereby approved in their entirety and
incorporated herein as part of this Order.

2.      Pursuant to the Stipulation, Movant is entitled to relief from the automatic stay upon
default of Debtor, subject to the terms of the Stipulation.

                                                 By the Court:



                                                 MAGDELINE D. COLEMAN
                                                 CHIEF U.S. BANKRUPTCY JUDGE

CC:
  Alyk L. Oflazian, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028,
  Columbus, OH 43216-5028 (notified by ecf)

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov (notified by ecf)
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  Kenneth E. West, Chapter 13 Trustee, Office of the Chapter 13 Standing Trustee, 1234
  Market Street - Suite 1813, Philadelphia, PA 19107, ecfemails@ph13trustee.com (notified by
  ecf)

  Kenneth G. Harrison, Attorney for Debtor, Law Office of Kenneth G. Harrison, Five
  Neshaminy Interplex, Suite 115, Trevose, PA 19053, kghesq@juno.com (notified by ecf)

  Milton Gibbs, Debtor, 638 Keely Court, Philadelphia, PA 19128 (notified by regular US
  Mail)
